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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO
                               Judge Raymond P. Moore

Criminal Case No. 13-cr-00473-RM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

1.     GARY SNISKY,

     Defendant.
_____________________________________________________________________

               ORDER SETTING CHANGE OF PLEA HEARING
_____________________________________________________________________

       Pursuant to the Notice of Disposition filed on January 27, 2015 (Docket No. 96). A

Change of Plea Hearing is set for February 5, 2015 at 5:00 p.m. Counsel for the parties shall

email a courtesy copy of all change of plea documents separately to my chambers:

(Moore_Chambers@cod.uscourts.gov) and to the Probation Department not later than 48 hours

before the change of plea hearing. See D.C.COLO.LCrR 11.1C. On the date of the hearing,

counsel shall bring with them an original and one copy of the plea agreement and the statement

in advance. See D.C.COLO.LCrR 11.1F.

       The plea agreement shall be in the form required by D.C.COLO.LCrR 11.1C which

includes a separate section identifying each essential element required by law for the commission

of each criminal offense to which the defendant intends to enter a plea of guilty. The statement

in advance shall be in the form required by D.C.COLO.LCrR 11.1D.
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      IT IS ORDERED that the trial preparation conference scheduled for February 12, 2015,

and the three-week jury trial scheduled for March 2, 2015 are VACATED.

      DATED this 28th day of January, 2015.

                                         BY THE COURT:



                                         ________________________________________
                                         RAYMOND P. MOORE
                                         United States District Judge




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